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                     IN THE UNITED STATES DISTRICT COURT FOR
                      THE WESTERN DISTRICT OF PENNSYLVANIA



MATTHEW ONYSHKO, and                                Civil Action No.
JESSICA ONYSHKO, his wife,

       Plaintiffs,

VS.




NATIONAL COLLEGIATE ATHLETIC
ASSOCIATION,

       Defendant.



                                          COMPLAINT

       Plaintiffs, Matthew Onyshko ("Plaintiff" or "Onyshko") and Jessica Onyshko ("Plaintiff-

Wife") (collectively "Plaintiffs") by their counsel, Jason E. Luckasevic of GOLDBERG,

PERSKY & WHITE, P.C., bring this Complaint against Defendant National Collegiate Athletic

Association (hereinafter "NCAA" or "Defendant") and allege the following upon information,

belief and investigation of counsel:

                                       NATURE OF ACTION

        1.     This action seeks to recover damages for injuries sustained by the Plaintiffs as a

               direct and proximate result of the tortious conduct of the Defendant in connection

               with the Defendant's failure to take effective action to protect Onyshko from the

               long-term effects of concussions and sub-concussive blows to the head suffered

               while he played collegiate football in the NCAA.

       2.      The NCAA's constitution states that college athletics shall be conducted in a

               manner designed to protect the physical and educational well being of college
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     athletes. Article 2.2 of the NCAA Constitution specifically addresses the

     "Principle of Student-Athlete Well-Being" and provides in pertinent part:

             2.2 The Principle of Student-Athlete Well-Being
             Intercollegiate athletics programs shall be conducted in a manner
             designed to protect and enhance the physical and educational well
             being of student-athletes. (Revised: 11/21/05).


                      ***

             2.3.3 Health and Safety
             It is the responsibility of each member institution to protect the
             health of, and provide a safe environment for, each of its
             participating student-athletes. (Adopted: 1/10/95.)

3.   Article 2, §2.82 of the NCAA's Constitution, further states that the NCAA "shall

     assist the institution in its efforts to achieve full compliance with all rules and

     regulations...

4.   Furthermore, in its annually published Sports Medicine Handbook, the NCAA

     explicitly states that "student-athletes rightfully assume that those who sponsor

     intercollegiate athletics have taken reasonable precautions to minimize the risks of

     injury from athletics' participation."

5.   The NCAA breached its duty to protect Onyshko in the face of long-standing and

     overwhelming evidence regarding the need to do so. The NCAA ignored this duty

     to protect Onyshko and failed to inform him of the true risks associated with

     concussions and sub-concussive hits suffered while playing collegiate football.

     Additionally, the NCAA has increased the risk to Onyshko of suffering the

     injuries described herein.

6.   The NCAA failed to educate its football-playing athletes, like Onyshko, on the

     long-term, life-altering risks and consequences of head trauma in football. They


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      failed to establish known protocols to prevent, mitigate, monitor, diagnose, and

      treat neurological disorders.

7.    During the time period of the events in this action, the NCAA failed to address

      and/or correct the coaching of tackling or playing methodologies that cause head

      injuries; the NCAA failed to educate coaches, trainers and student-athletes as to

      the symptoms indicating possible concussions; the NCAA failed to implement

      system-wide "return to play" guidelines for student-athletes who have sustained

      concussions; and the NCAA failed to implement system-wide guidelines For the

      screening and detection of head injuries.

8.    The NCAA engaged in a long-established pattern of negligence and inaction with

      respect to concussions and concussion-related maladies sustained by student-

      athletes.

9.    Accordingly, Plaintiffs seek financial recovery for the long-term and chronic

      injuries, financial losses, expenses and intangible losses, suffered as a result of the

      NCAA's negligence.

                           JURISDICTION AND VENUE

10.   This Court has original diversity jurisdiction over this action pursuant to 28

      U.S.C. §1332(a)(1) and §1332(c)(1) in that this a civil action in which the amount

      in controversy exceeds the sum or value of $75,000 and in which Plaintiffs are

      citizens of a state other than the state wherein the NCAA has its principal place of

      business.

11.   Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(1), (c), and (d) as:

      the NCAA is deemed to reside in this judicial district because it is subject to

      personal jurisdiction here; and substantial part of the events or omissions giving

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      rise to the claims asserted herein emanated from activities within this jurisdiction,

      and the Defendants conduct substantial business in this jurisdiction.

                                       PARTIES

12.   Plaintiff, Matthew Onyshko, is a natural person and a citizen of the State of

      Pennsylvania, Mr. Onyshko was a student at California University of

      Pennsylvania and played college football from 1999-2003. During his five (5)

      year collegiate football career, he experienced numerous repeated blows to the

      head. On three specific occasions, he lost consciousness for at least thirty

      seconds. After graduation, Mr. Onyshko progressively experienced frequent

      severe headaches, numbness, twitching, muscle atrophy, fatigue, loss of mobility,

      slurred speech, difficulty swallowing, weakness and other neurological

      symptoms. Mr. Onyshko was recently diagnosed with a progressive brain and

      spinal cord injury with ALS-like symptoms caused by repeated head trauma

      during his college football career in the NCAA.

13.   Plaintiff, Jessica Onyshko, is a natural person and wife of Matthew Onyshko and

      a citizen of the State of Pennsylvania.

14.   Defendant National Collegiate Athletic Association ("NCAA") is an

      unincorporated association that acts as the governing body of college sports. Its

      principal office is located in Indianapolis, Indiana. There are more than 400,000

      student-athletes competing in three divisions at over 1,000 colleges and

      universities that are member schools within the NCAA. Through various

      licensing programs, the NCAA takes in, on average, over $750 million in

      revenues each year.



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                              FACTUAL ALLEGATIONS

15.   College athletics at NCAA member institutions are tightly regulated by the

      NCAA Constitution, Operating Bylaws, and Administrative Bylaws, which

      comprise over 400 pages of detailed rules that govern in great detail all matters

      relating to athletic events, including: player well-being and safety, playing time

      and practice rules for each sport, contest rules, amateurism, recruiting, eligibility

      and scholarships.

16.   Upon information and belief, the NCAA Constitution, Bylaws, and other

      legislative policies are contained within the NCAA Manual, which is updated at

      an annual conference and published annually for member schools. The NCAA

      promulgates sport-specific standards through its Playing-Rules Committees. The

      playing-rules committees are comprised primarily of coaches, who act as

      consultants to the Association in the event that any "major changes" to the rules

      are considered. However, the primary responsibility for developing and

      interpreting rules falls on the secretary-rules editor.

17.   The NCAA also publishes a Sports Medicine Handbook (the "Handbook") which

      includes policies and guidelines for treatment and prevention of injury, as well as

      return-to-play instructions. The Handbook is also produced annually and sent

      directly to head athletic trainers, as well as various individuals at NCAA member

      institutions.

18.   The NCAA constitution clearly defines the NCAA's purposes and fundamental

      policies to include maintaining control over and responsibility for intercollegiate

      sports and student-athletes. Then NCAA Constitution states in pertinent part:



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              The purposes of this Associations are:

              (a) To initiate, stimulate and improve intercollegiate athletics programs
                  for student athletes....;
              (b) to uphold the principal of institutional control of, and responsibility
                  for, all intercollegiate sports in conformity with the constitution and
                  bylaws of this association;....NCAA Const., Art. 1, sec, 1.2(a),(b).

19.   The NCAA Constitution also defines one of its "Fundamental Policies" as the

      requirement that "Member institutions shall be obligated to apply and enforce this

      legislation, and the enforcement procedures of the Association shall be applied to

      an institution when its fails to fulfill this obligations."

20.   In fact, the NCAA Constitution mandates that "each member institution must

      establish and maintain an environment in which a student-athlete's activities are

      conducted as an integral part of the student-athlete's education experience."

      NCAA Const., Art.2, sec. 2.2.1 (Adopted: 1/10/95)

21.   To aid member institutions with the tools that they need to comply with NCAA

      legislation, the NCAA Constitution promises that "[t]he Association shall assist

      the institution in its efforts to achieve full compliance with all rules and

      regulations...."

22.   Upon information and belief, the NCAA maintains The Committee on Safeguards

      and Medical Aspects of Sports, which is publicly touted by the NCAA as

      "serv[ing] to provide expertise and leadership to the NCAA in order to provide a

      healthy and safe environment to student-athletes through research, education,

      collaboration and policy development."

23.   Upon information and belief, one of the NCAA's "core concepts and priorities"

      was to use its knowledge to promote health and safety:



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              The NCCA has been conducting injury surveillance for more than 20
              years. Over time, the underlying principle of the program has remained
              unchanged — to promote and support student athlete health and safety.

24.   Upon information and belief, on an annual basis, the NCAA Committee on

      Competitive Safeguards and Medical Aspects of Sports publishes ("Medical

      Committee") the NCAA Sports Medicine Handbook ("Handbook") "to formulate

      guidelines for sports medicine care and protection of student-athlete's health and

      safety" and "to assist member schools in developing a safe intercollegiate athletic

      program." The Medical Committee recognizes that the Handbook "may

      constitute some evidence of the legal standard of care." The Handbook expressly

      recognizes that "student-athlete rightly assume that those who sponsor

      intercollegiate athletics have taken reasonable precautions to minimize the risks of

      injury from athletics participation.

25.   Thus, the NCAA has described, time and again, its responsibility for the health

      and well-being of student-athletes.

26.   Despite this recognition of a duty to care and protect the well-being of the

      student-athlete, the NCAA has failed to protect Onyshko from the long term, life-

      altering risks and consequences of head trauma he sustained while participating in

      collegiate football.

27.   The NCCA has failed to educate Onyshko about the long-term, life-altering risks

      and consequences of head injuries that can result from participation in the game

      of football.

28.   In the face of its overwhelming and superior knowledge of these risks, as

      compared to that of the student-athletes, the NCAA's conduct constitutes

      negligence.

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29.   Medical science has known for many decades that repetitive and violent jarring of

      the head or impact to the head can cause Mild Trauma Brain Injury ("MTBI")

      with a heightened risk of long term, chronic neuro-cognitive maladies.

30, The NCAA has known or should have known for many years that MTBI

      generally occurs when the head either accelerates rapidly and then is stopped, or

      is rotated rapidly.

31.   The NCAA has known or should have known for many years that medical

      evidence has shown that symptoms of MTBI can appear hours or days after the

      injury, indicating that the injured party has not healed from the initial blow.

32.   The NCAA has known or should have known for many years that once a person

      suffers an MTBI, he is up to four times more likely to sustain a second one.

      Additionally, after suffering even a single sub-concussive or concussive blow, a

      lesser blow may cause MTBI, and the injured person requires more time to

      recover.

33.   The NCAA has known or should have known for many years that collegiate

      football players and their families, including Onyshko, were unaware of the

      serious risk posed to the players' long-term cognitive health, caused by repeated

      head impacts while playing football.

34.   The NCAA has known or should have known for many years clinical and neuro-

      pathological studies by some of the nation's foremost experts demonstrate that

      multiple head injuries or concussions sustained during a football player's career

      can cause severe cognitive problems such as depression and early-onset dementia.

35.   The NCAA has known or should have known for many years that published peer

      review scientific studies have shown that repeated traumatic head impacts

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      (including sub-concussive blows and concussions) cause ongoing and latent brain

      injury. For decades, these injuries have been documented and associated with

      sports-related head impacts in both football and boxing.

36,   The NCAA has known or should have known for many years that neuropathology

      studies, brain imaging tests, and neuropsychological tests on many former football

      players have established that football players who sustain repetitive head impacts

      while playing the game have suffered and continue to suffer brain injuries that

      result in any one or more of the following conditions: early —onset Alzheimer's

      Disease, ALS or Lou Gehrig's Disease, dementia, depression, deficits in cognitive

      functioning, reduced processing speed, attention, and reasoning, loss of memory,

      sleeplessness, mood swings, personality changes, and the debilitating and latent

      disease known as Chronic Traumatic Encephalopathy ("CTE").

37.   Since the early 1970's the high incidence of concussions among student-athletes

      in many different sports, including football, hockey, and soccer, has been well

      known to the NCAA. Further, based on studies that the NCAA itself paid for the

      NCAA has been aware that a history of multiple concussions has been associated

      with greater risk of future brain defects in student-athletes, including symptoms of

      post-traumatic brain injury such as headaches, dizziness, loss of memory, impulse

      control problems, and CTE.

38.   From its inception, the NCAA had a duty to protect football players like the

      Plaintiff from health and safety risks. The NCAA held itself out as acting in the

      Onyshko's best interests. Plaintiff relied on the NCAA to disclose relevant risk

      information and protect his health and safety.



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39.   The NCAA's accumulated knowledge about head injuries to football players, and

      the associated health risks, was at all times superior to that available to student-

      athletes like the Plaintiff.

40.   Prior to 2003, the NCAA specifically became aware of the correlation between

      concussions and depression, dementia, ALS, and early on-set Alzheimer's

      disease. Despite this knowledge, the NCAA failed to act reasonably by

      developing appropriate means to identify at-risk players and guidelines or rules

      regarding return to play criteria. The NCAA's inaction prior to 2003 increased

      the risk of long-term injury and illness in student-athletes, including Plaintiff,

41.   For years prior to 2003, the NCAA has been aware that multiple blows to the head

      can lead to long-term brain injury, including, but not limited to, memory loss,

      dementia, depression and CTE and its related symptoms,

42.   In 1937, the American Football coaches Association published a report warning

      that players who suffer a concussion should be removed from sports demanding

      personal contact.

43.   In 1952, an article published in the New England Journal of Medicine

      recommended a three-strike rule for concussions in football (i.e., recommending

      that players cease to play football after receiving their third concussion).

44.   In 1969 (and the again in the 1973 book entitled Head and Neck Injuries in

      Football), a paper published in the Journal of Medicine and Science in Sports by

      a leading medical expert in the treatment of head injuries, recommended that any

      concussive event with transitory loss of consciousness requires the removal of the

      football player from play and requires monitoring.



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45.   In the 1960's and 70's, the development of the protective face mask in football

      allowed the helmeted head to be used as a battering ram. By 1975 the number of

      head and neck injuries from football that resulted in permanent quadriplegias in

      Pennsylvania and New Jersey lead to the creation of the National Football Head

      and Neck Registry, which was sponsored by the National Athletic Trainers

      Association and the Sports Medicine Center at the University of Pennsylvania.

46.   In the early 1980's, the Department of Neurosurgery at the University of Virginia

      published studies on patients who sustained MTBI and observed long-term

      damage in the form of unexpected cognitive impairment. The studies were

      published in neurological journals and treatises within the United States.

47.   In 1982, the University of Virginia and other institutions conducted studies on

      college football teams that showed that football players who suffered MTBI

      suffered pathological short-term and long-term damage.             With respect to

      concussions, the same studies showed that a person who sustained one concussion

      was more likely to sustain a second, particularly if that person was not properly

      treated and removed from activity so that the concussion symptoms were allowed

      to resolve.

48.   The same studies showed that two or more concussions close in time could have

      serious short-term and long-term consequences in both football players and other

      victims of brain trauma.

49.   Kevin Guskiewicz published a study of concussions in college football players

      titled, "The NCAA Concussion Study" in the Journal of the American Medical

      Association in 2003.



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50.   By 1991, three distinct medical professionals/entities    Dr. Robert Cantu of the

      American College of Sports Medicine, the American Academy of Neurology, and

      the Colorado Medical Society—developed return-to-play criteria for football

      players suspected of having sustained head injuries.

51.   The NCAA implemented an injury surveillance system in 1982. In 1994, Randall

      W. Dick, Assistant Director of Sports Science for the NCAA, authored an article

      entitled "A Summary of Head and Neck Injuries in Collegiate Athletics' Using

      the NCAA Injury Surveillance System" published by the American Society for

      Testing and Materials. The article identified concussions as the most prevalent

      type of head injury and noted that evaluation of concussions may be a first step to

      the prevention of severe injuries. The author cautioned that "rmledical personnel

      should be educated on the diagnosis and treatment of such injuries in all sports

      and rules protecting the head and neck should be enforced." In spite of this

      admonition, the NCAA did not proceed to educate its active football players on

      the long term risks of concussions.

52.   In 1996, the NCAA Sports Science Safety Subcommittee on Competitive

      Safeguards and Medical Aspects of Sports discussed the concussion data in

      football and other sports and recognized the football helmet would not prevent

      concussions.

53.   In 1999, the National Center for Catastrophic Sport Injury Research at the

      University of North Carolina conducted a study involving eighteen thousand

      (18,000) collegiate and high school football players. The research showed that

      once a player suffered one concussion, he was three times more likely to sustain a

      second in the same season.

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54.   A 2001 report by Dr. Frederick Mueller that was published in the Journal of

      Athletic Training reported that a football-related fatality has occurred every year

      from 1945 through 1999, except for 1990. Head-related deaths accounted for 69%

      of football fatalities, cervical spine injuries for 16.3%, and other injuries for

      14.7%. From 1984 to 1999, sixty-nine football head-related injuries resulted in

      permanent disability.

55.   In 2002, a prominent study published in the Archives of Clinical

      Neuropsychology entitled Enduring Effects of Concussion in Youth Athletes

      documented there were enduring effects in youth who have experienced a history

      of two or more concussions. These include decreased overall neuropsychological

      functioning, as well as decreased mental speed.

56.   Researchers from the National Institute for Occupational Safety and Health

      ("NIOSH") wrote in the journal Neurology that professional football players are

      much more likely to die from Alzheimer's disease, ALS (Lou Gehrig's Disease)

      and Parkinson's Disease as well as other neurodegenerative diseases which are

      caused by brain cell damage. Neurology (06 Sept. 2012).

57.   In sum, the NCAA has known for years prior to 2003 that MTBI experienced in

      football can and does lead to long-term brain injury in football players, including,

      but not limited to, memory loss, dementia, depression, and CTE and its related

      symptoms.

58.   Years later, in 2010, the NCAA adopted a concussion management policy that

      delegated the concussion problem to its member schools. This public relations

      maneuver, in the face of decades of knowledge coupled with inaction, was too

      little and too late for Plaintiff.

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                              CAUSES OF ACTION
                                      COUNT I
                                NEGLIGENCE
                             (AGAINST THE NCAA)

59.   Plaintiffs repeat and re-allege each of the allegations contained in the foregoing

      paragraphs.

60.   At all relevant times, the NCAA had a duty toward Onyshko to supervise,

      regulate, monitor and provide reasonable and appropriate rules to minimize the

      risk of injury to him while playing collegiate football.

61.   Onyshko did reasonably and justifiably rely upon the NCAA to protect his

      health and safety.

62.   The NCAA acted carelessly and negligently in its position as the regulatory

      body for collegiate football teams and its student-athletes, including the

      Plaintiff. The NCAA knew or should have known that its actions or inaction

      in light of the rate and extent of concussions reported and made known to the

      NCAA would cause harm to the Plaintiff in both the short and long term.

63.   The NCAA was careless and negligent by breaching the duty of due care it

      assumed for the benefit of the Plaintiff, both generally and in the following

      particular respects:

      a.      Failing to educate Plaintiff concerning symptoms that may indicate a
              concussion has occurred;

      b.      Failing to warn Plaintiff of the risk of unreasonable harm resulting from
              repeated concussions;

      c.      Failing to disclose to Plaintiff the special risks of long-term
              complications from repeated concussions and return to play;

      d.      Failing to disclose to Plaintiff the role of repeated concussions in
              causing chronic life-long cognitive and neurological decline;
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       e.      Failing to promulgate rules and regulations to adequately address the
               dangers to Plaintiff of repeated concussions and failing to implement a
               return-to-play policy to minimize long-term chronic cognitive and
               neurological problems for which was at an increased risk;

       f.      Misrepresenting pertinent facts that Plaintiff needed to be aware of to
               make determinations of the safety of return to play;

       g.      Concealing pertinent facts necessary for the Plaintiff to make an
               informed decision about participating in football;

       h.      Failing to adopt rules and reasonably enforce those rules to minimize
               the risk of Plaintiff suffering debilitating concussions; and

        i.     Increasing the risk of harm to the Plaintiff.

64.    The Plaintiffs have sustained past medical expenses and will in all likelihood,

       incur future medically-related costs associated with the harm suffered and

       injuries and disability referenced above.

65.    The Plaintiff has in the past experienced, and he may in the future suffer, from

       an assortment of problems associated with the harm and injuries described

        including, but not limited to, headaches, numbness, twitching, fatigue, muscle

       neuropathy, loss of mobility, slurred speech, difficulty swallowing and other

       neurodegenerative symptoms, as well as embarrassment, loss of the pleasures

       of life, requiring his use of a wheelchair, feeding tube and a diaphragm

       pacemaker, which will eventually lead to a progressive and painful death.

66.    As a result of the foregoing, Plaintiffs have suffered damages and will in the

       future suffer damages caused by the misconduct of the NCAA.

67.    The Plaintiffs are entitled to damages in an amount to be determined at trial.

WHEREFORE, Plaintiffs request judgment against Defendant in an amount in excess

of $75,000, together with interest and costs.


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                                       COUNT II

                                  CONSORTIUM
                               (AGAINST THE NCAA)

68.    Plaintiffs incorporate by reference the all above paragraph of this Complaint as

       if they have been set forth fully herein.

69.    As a direct and proximate result of the acts of the Defendant as set forth,

       above, Wife-Plaintiff has suffered and will continue to suffer as follows:

       a.      Loss of consortium, spousal support, services, society and

               companionship for which the Defendant is liable.

       b.      Plaintiff-wife has been required to and will continue to spend money

               for medicine, medical care, nursing, hospital, medical appliances and

               household care for the treatment of her husband.

WHEREFORE, Plaintiffs request judgment against Defendant in an amount in excess

of $75,000, together with interest and costs.



                                   JURY DEMAND

70.    Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiff demands a trial by

       jury of all claims in this Complaint so triable.



                               PRAYER FOR RELIEF

WHEREFORE, Plaintiffs pray for judgment with respect to their Complaint as follows:

A. Award Plaintiff economic and non-economic compensatory damages, the amount
   of which is to be determined at trial;

B. Award Plaintiff prejudgment interest on all damages;

C. Award Plaintiff their costs and expenses in this litigation, including reasonable
   attorneys' fees and expert fees;
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      D. Award Plaintiff all such other and further relief as may be just, equitable and
         proper under the circumstances.




Dated: December 17, 2013                 Respectfully Submitted,

                                         si Jason E. Luckasevic
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